                Case 19-28377-SLM                       Doc 41
                                    Filed 07/05/22 Entered 07/05/22 15:32:02                                      Desc Main
                                   Document      Page 1 of 1
        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF NEW JERSEY
        Caption in Compliance with D.N.J. LBR 9004-1(b)
        Denise Carlon Esquire
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                                                                                  Case No: 19-28377 SLM

                                                                                  Chapter: 13

                                                                                  Judge: Stacey L. Meisel
        In Re:
        Robbin Lynn Tracy

                                                       Debtor(s).


                                                                      NOTICE OF APPEARANCE

                          Please take notice that in accordance with Fed R. Bankr. P. 9010(b) the undersigned enters an
                  appearance in this case on behalf of MidFirst Bank. Request is made that the documents filed in this case
                  and identified below be served on the undersigned at this address:

                  ADDRESS:

                  701 Market Street, Suite 5000
                  Philadelphia, PA 19106

                  DOCUMENTS:

                   All notices entered pursuant to Fed. R. Bankr. P. 2002.
                  All documents and pleadings of any nature.

                  Date: 07/05/2022
                        ${d:1:y:____________}                                     /s/${s:1:y:______________________________}
                                                                                    Brian Nicholas
                                                                                    05 Jul 2022, 09:50:03, EDT
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Document ID: 41fc417132f33c6f83e56e04dc4d06ac24637ae28f8612fc32a1071d2382fa03
